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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ARTURO REYES/GABRIEL SOLACHE,                         )
                                                      )
               Plaintiff,                             )       Case No. 18-cv-1028/18-cv-2312
                                                      )
       v.                                             )       Hon. Judge Steven C. Seeger
                                                      )
REYNALDO GUEVARA, et al.                              )       Maj. Judge Sunil R. Harjani
                                                      )
               Defendants.                            )

                    RESPONDENT’S MOTION TO QUASH SUBPOENA
                      FOR THE DEPOSITION OF ERIC SUSSMAN

       Third Party Respondent Cook County State’s Attorney’s Office (“CCSAO”), by its

attorney, Kimberly M. Foxx, State’s Attorney of Cook County, through her Assistant State’s

Attorney, Patrick D. Morris, pursuant to Fed. R. Civ. P. 26 and Fed. R. Civ. P. 45, bring this motion

to quash the subpoena for Eric Sussman’s deposition in the above-referenced case. In support, the

Respondent states as follows:

                                I. Relevant Procedural History

       The CCSAO is not a party to this litigation, but seeks to move to quash a subpoena to

testify issued to former First Assistant State’s Attorney Eric Sussman. The CCSAO’s motion in

this case is one of several the Office has had to file in the past year due to repeated efforts by

defense counsel to pierce the veil of the Office’s deliberative process privilege, in some cases in

direct defiance of clear, express rulings by the court. The undersigned has reached out to defense

counsel regarding the testimony they seek to elicit from Sussman, which revealed their intentions

to once again question Sussman on matters that are protected by privileges held by the CCSAO.

Accordingly, this motion to quash is necessary for the CCSAO to protect its interests, pursuant to

well-established law.



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           Plaintiffs’ claims in this case are based on their alleged wrongful prosecutions and claims

of police and prosecutor misconduct. Specifically, in 1998, Plaintiff Arturo DeLeon Reyes and

Gabriel Solache were convicted of the 1998 double murder of Mariano and Jacinta Soto, and the

abduction of their infant daughter and 3-year old son. [See 18-1028, ECF No.396, 18-2312, ECF

No. 224]. On December 21, 2017, Cook County Circuit Court Judge James Obbish overturned

their convictions and ordered them to be released from prison, and the Cook County State’s

Attorney (“CCSAO”) subsequently decided not to retry the case and dismissed all charges against

both Plaintiff Solache and Plaintiff Reyes. [18-2312, ECF No.224, ¶2; 18-1028, ECF No.396, ¶95].

The Plaintiffs’ convictions were overturned following post-conviction proceedings in which the

Court determined that Defendant Officer Guevara, who invoked his Fifth Amendment right not to

incriminate himself, was not a credible witness. [Id.] The Plaintiffs also produced DNA and other

physical evidence that was allegedly exculpatory of their involvement in the crimes. [Id. at ECF

No. 96, ¶86; ECF No. 224, ¶31, 50].

           Plaintiffs have now filed eleven and nine-count complaints, respectively, against the City

of Chicago and numerous former Chicago Police Department (“CPD”) officers and their estates

(collectively, “CPD Defendants”), and against former CCSAO Assistant State’s Attorneys

(“ASA”) Karin Wehrle, David Navarro, Heather Brualdi, Andrew Varga, and Thomas O’Malley,1

alleging various state and federal claims related to Plaintiffs’ underlying criminal cases. [Id.]

Counsel for the CPD Defendants have issued, and the CCSAO has accepted service of, a subpoena

for the deposition of former Assistant State’s Attorney Eric Sussman. [See Sussman Subpoena,

attached hereto as Exhibit A]. Based on conversations and e-mails between the CCSAO and

counsel for the CPD Defendants, the CCSAO anticipates that the CPD Defendants intend to depose



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    Only Plaintiff Reyes, and not Plaintiff Solache, has named the ASA Defendants in his Complaint.


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Mr. Sussman regarding the factors taken into account, deliberations, and reasoning behind the

CCSAO’s decision to voluntarily dismiss charges against Plaintiffs, and any information Sussman

may possess regarding the CCSAO’s decision-making with respect to the Plaintiffs’ petitions for

certificates of innocence (“COI”). The nature of this testimony that CPD Defendants intend to

elicit from Sussman is protected by the deliberative process privilege, and the mental impressions-

work product privilege doctrines.

         In discussions with the CPD Defendants, they have claimed that Sussman has waived his

privilege by making statements to the press. However, they have failed to identify any statements

or comments that constitute a waiver of the deliberative process privilege with respect to the above-

referenced topics. Moreover, attorneys for the CPD Defendants have now sought to elicit

privileged testimony from Sussman and other former high-ranking ASAs in numerous cases

involving similar claims, including former First Assistant Joe Magats and Mark Rotert, in his

capacity as supervisor for the Conviction Integrity Unit, despite findings by the Court that they are

not entitled to2 this information. The CPD Defendants have solicited testimony involving

privileged matters in some of these cases, even after the Court clearly and expressly ordered them

not to do so.3

         Thus, this motion is brought in order to quash Plaintiffs’ subpoena for Sussman to testify

in this case, and in furtherance of the CCSAO’s interest in protecting valuable privileges that are


2
  See Fulton v. City of Chicago, et al., 17-cv-8696; Coleman v. City of Chicago, et al., 18 C 998; Almodovar v. City
of Chicago, et al., 18 C 2341; Negron.v. City of Chicago, et al., 18 C 2701; Brown v. City of Chicago, 18-cv-07064.

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  For instance, in the Fulton v. City of Chicago matter, this Court significantly limited the types of questions the CPD
Defendants could ask Mr. Sussman during his deposition. Despite the clear instruction, the parties in Fulton
disregarded the Court’s instructions consistently throughout the deposition, and Mr. Sussman had to be instructed not
to answer a number of questions (in whole or in part). See March 25, 2021 Deposition of Eric Sussman, pp. 25, 60-
61, 72, 76, 85, 88, 93, 110, 113-114, 121-122, 136, 211, 229-231, 249-250, 263, 272-273, 283-286, 289, 291-293,
297, 299,and 302. This deposition was marked CONFIDENTIAL. The CCSAO will provide a copy to the Court
upon request.



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necessary for the CCSAO to make quality, measured decisions without the threat of harassing

litigation.

                                             II. Argument

         The Respondents move to quash the subpoena because: 1) Sussman was a former high-

ranking public official who will be unable to provide any relevant non-privileged evidence; 2) the

communications sought are protected by the deliberative process privilege; and 3) any mental

impressions related to the privileged communications are likewise protected by the mental process

privilege and work-product doctrine.

    1.   Sussman Cannot Provide any Relevant Non-Privileged Testimony.

         High-ranking governmental officials should not be subject to giving depositions unless the

testimony sought will lead to admissible evidence relevant to the disposition of the case. See, e.g.,

Stagman v. Ryan, 176 F.3d 986, 994-95 (7th Cir. 1999), cert. denied, 528 U.S. 986 (1999) (holding

that plaintiff was not entitled to depose the Illinois Attorney General regarding his employment

discrimination claim) (Gauthier v. Union Pac. R.R. Co., 2008 U.S. Dist. LEXIS 47199, at *15

(E.D. Tex. June 18, 2008) (applying to both current and former high-level officials)). See also Lee

v. City of Chicago, 20 C 1508, Docket No. 57 (Tharp, J.)(“[t]he apex doctrine is no less applicable

to former officials than it is to current officials.”)

         At the time Plaintiffs’ convictions were overturned by the Circuit Court in December of

2017, Mr. Sussman was the First Assistant State’s Attorney, overseeing the seven bureaus of the

CCSAO. Whatever non-privileged information Mr. Sussman could provide is available from other

sources, namely, the Assistant State’s Attorney assigned to the case at the time, or a 30(b)(6)

deposition. The CPD Defendants are well aware of this. In fact, identical attempts in similar cases

by other CPD defendants and the City of Chicago to depose First Assistant’s about similar subject




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matter have been denied in the past. See, e.g., 10/17/19 Order, Gray v. City of Chicago, 18-cv-

2624, N.D. Ill. Apr. 11, 2018, ECF No. 184 (quashing subpoena for Mr. Magats seeking his

testimony regarding the CCSAO’s decisions related to plaintiff’s post-conviction litigation), and

specifically by this Court. See 12/4/20 Order, Fulton, Coleman v. Foley, City of Chicago, et al.,

17-cv-8696/18-cv-998 (N.D. Ill.) (denying motion to quash but prohibiting defendants from

eliciting any testimony from Sussman protected by deliberate process privilege and work product

doctrine that had not been waived) (citing Judge Pallmeyer’s 7/28/20 Order, Brown v. City of

Chicago, et al., 18-cv-7064 (N.D.Ill.)).

       Further, to the extent the CPD Defendants intend to depose Mr. Sussman regarding his

personal opinions vis-à-vis the underlying facts, or use him to challenge the decisions made by the

CCSAO, this line of questioning would be wholly inappropriate and irrelevant to any claim or

defense in this case. Mr. Sussman is not an “expert witness,” and elicited opinions regarding the

merits of the instant litigation, including whether or not the Plaintiffs or Defendants engaged in

wrongdoing, would invade the province of the jury.

       In a good faith attempt to resolve this matter, CCSAO inquired whether the CPD

Defendants would accept a Federal Rule of Civil Procedure 30(b)(6) witness to testify regarding

non-privileged issues pertaining to Plaintiffs’ underlying criminal proceedings. The CPD

Defendants rejected this offer and made no counterproposal.

       As such, Mr. Sussman has no recourse other than to move to quash the subpoena. As

discussed further below, the majority of information Mr. Sussman could provide would be the

logic and reasoning behind the CCSAO’s decisions not to retry Plaintiffs after their convictions

were vacated and/or the CCSAO’s position with respect to the Plaintiffs’ Certificates of Innocence.




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There is no valid basis to depose Mr. Sussman at this time. As such, the subpoena for his deposition

should be quashed.

   2. The Information Sought is protected by the Deliberative Process Privilege.

       "The deliberative process privilege protects communications that are part of the decision-

making process of a governmental agency." U.S. v. Farley, 11 F.3d 1385, 1389 (7th Cir. 1993)

(citing N.L.R.B. v. Sears, Roebuck & Co., 421 U.S. 132, 150-51 (1975)). The privilege "rests on

the obvious realization that officials will not communicate candidly among themselves if each

remark is a potential item of discovery and front page news, and its object is to enhance the quality

of agency decisions by protecting open and frank discussion among those who make them within

the Government." Department of Interior v. Klamath Water Users Protective Ass'n, 532 U.S. 1,

8-9, 121 S. Ct. 1060, 149 L. Ed. 2d 87 (2001) (internal quotations omitted). To this end, the

privilege shields "communications that are part of the decision-making process of a governmental

agency." Farley, 11 F.3d at 1389. Privileged communications include not only conversations, but

"documents reflecting advisory opinions, recommendations, and deliberations comprising part of

the process by which governmental decisions and policies are formulated." Dep't of Interior v.

Klamath Water Users Protective Assoc., 532 U.S. 1, 9 (2001) (citing Sears, Roebuck & Co., 421

U.S. at 150). Although the deliberative process privilege does not justify the withholding of purely

factual material, it does prohibit the disclosure of “factual matters inextricably intertwined with

such discussions.” Enviro Tech Int'l, Inc. v. U.S. E.P.A., 371 F.3d 370, 374-75 (7th Cir. 2004).

       A two-step process exists for determining whether the deliberative process privilege

applies. First, the government must show that the privilege applies to the information sought.

Ferrell v. United States HUD, 177 F.R.D. 425, 428 (N.D. Ill. 1998). For the government to satisfy




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its prima facie threshold, three things must occur: (1) the department head with control over the

matter at issue must, after personal consideration of the issue, make a formal claim of privilege;

(2) the designated official must articulate, typically by affidavit, their reasons for preserving the

confidentiality of the information sought; and (3) the official must specifically identify and

describe the documents or information sought. Id.; see also Evans v. City of Chicago, 231 F.R.D.

302, 316 (N.D. Ill. 2005). If the government makes out a prima facie case that the privilege applies,

the burden then shifts to the party seeking disclosure to establish: (1) "a particularized need" for

the information sought; and (2) that the party's need for the document outweighs the government's

interest in confidentiality. Farley, 11 F.3d at 1389; Ferrell 177 F.R.D. at 428. In undertaking such

an analysis, a court must balance the requestor’s need for disclosure against the government's need

for secrecy, considering such factors as: (1) the relevance of the documents to the litigation; (2)

the availability of other evidence that would serve the same purpose as the documents sought; (3)

the government's role in the litigation; (4) the seriousness of the litigation and the issues involved

in it; and (5) the degree to which disclosure of the documents sought would tend to chill future

deliberations within government agencies, that it would hinder frank and independent discussion

about governmental policies and decisions. Ferrell, 177 F.R.D. at 429; see also Saunders v. City

of Chicago, 12 C 958, 2015 U.S. Dist. LEXIS 105571, at * 31-32 (N.D. Ill. Aug. 12, 2015).

       The information sought from Mr. Sussman is unquestionably protected by the deliberative

process privilege and has been previously held so by Courts in the Northern District. (See Affidavit

of Jessica Scheller, attached hereto as Exhibit B). For instance, in Saunders, the plaintiff brought

a motion to compel a high-ranking ASA to answer deposition questions about the content of the

CCSAO’s deliberations regarding the dismissals of charges and its decisions regarding plaintiff’s

petition for a COI. Saunders, U.S. Dist. LEXIS 105571, at * 58- 63. The plaintiff also sought to




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compel the ASA to answer questions regarding his personal beliefs about the plaintiff’s guilt or

innocence, the weight and significance of various evidence, and the relevance of newly discovered

evidence. Id. at 63-67. The court, in holding that the deliberative process privilege was applicable

to these inquiries, further held that, upon balancing the interests, the plaintiff had not overcome his

burden to establish a particularized need that outweighed the government’s interests. Id. at 76.

Although the court conducted a full analysis, of particular significance to the court’s holding was

the policy underlying the privilege itself – the need to protect the quality of agency decisions by

protecting open and frank discussions among its members. Id. at 76 (“Allowing Plaintiffs to have

access to such evidence would set a precedent for others similarly situated to seek discovery of the

[CCSAO's] confidential information and allow them to have full access to closed session

discussions as fodder for potential [civil rights] claims. This, in turn, would have a negative impact

on the quality of prosecutorial decisions made by the State's Attorney and his or her staff.”)

(internal citations or quotation omitted). Ultimately upholding the CCSAO’s objections, the court

denied the portion of the plaintiff’s motion seeking to compel the ASA to answer the questions

posed. Id.

       As Saunders establishes, the CCSAO’s deliberations regarding its decisions to seek to

vacate a conviction or to dismiss charges. See also Hill v. City of Chicago, 13 C 4847, 2015 U.S.

Dist. LEXIS 190661, at * 10-11 (N. D. Ill. May 28, 2015) (holding that the deliberations underlying

a decision to bring criminal charges are privileged). Yet, the CPD Defendants will be seeking the

exact same information—despite analogous precedent forbidding such disclosures. Because the

information sought is protected by the deliberative process privilege, and because the CPD




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Defendants will not be able to overcome their burden to establish a particularized need, this Court

should quash the subpoenas directed to Mr. Sussman.4

    3. The Mental Impressions related to the Privileged Communications are Privileged.

        It is clear from the Saunders opinion that, not only are the actual communications

privileged, but so too are the internal thoughts and mental processes attendant to the deliberations.

As the Saunders court noted, inquiries into personal beliefs cannot be separated from the actual

deliberations, as the beliefs and opinions formed are necessarily shaped by the protected

deliberations. Saunders, U.S. Dist. LEXIS 105571, at * 63-67 (“This Court finds that the privilege

was properly invoked by Valentini in response to these irregular deposition questions. It is likely

that during the SAO's deliberations about the prosecutorial decisions, they discussed the weight of

the evidence and whether it was sufficient for a jury to convict, as well as the other questions posed

to Valentini. Since Valentini was present for the deliberations, it is understandable that providing

answers to the questions would reveal analysis, arguments, and discussion from the

deliberations.”). While the Saunders court did not invoke the actual term, the mental process and

internal deliberation are likewise protected by the “mental processes privilege.” See Carl Zeiss

Stiftung v. V. E. B. Carl Zeiss, Jena, 40 F.R.D. 318, 326-26 (D.D.C. 1996) (holding that the mental

processes privilege is “inextricably intertwined” with the deliberative process privilege and

precludes “prob[ing] the mental process” of government officials); see also Mendez v. City of

Chicago, 18 CV 5560, 2020 U.S. Dist. LEXIS 47530, at * 4 (N.D. Ill. Mar. 19, 2020) (quashing

subpoena pursuant to the mental processes privilege seeking deposition of sitting judge regarding

the reasoning for his decision). Because the mental processes privilege analysis is the same as the


4 Should the CPD Defendants articulate a reason for Sussman’s deposition that would not intrude upon a
privilege, the Respondents would respectfully request that this Court enter a protective appropriately limiting
the topics/questions.



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deliberative process privilege, see United States v. Lake Cty. Bd. of Comm'rs, 233 F.R.D. 523, 527

(N.D. Ind. 2005), the CPD Defendants are likewise prohibited from inquiring into the mental

impressions of Mr. Sussman.

       While the mental processes privilege is confined to pre-decisional deliberation, the

common law work-product doctrine, a more expansive doctrine than the mental processes

privilege, likewise prohibits inquiries into the deponents’ mental processes. As the Supreme Court

has long held, the mental impressions and “intangible” work product of attorneys are “inviolate.”

Hickman v. Taylor, 329 U.S. 495, 511 (1947). As such, the intangible work product that Mr.

Sussman developed during his deliberations regarding Plaintiffs’ post-conviction litigation and/or

the COI process is privileged and protected.

                                        III. Conclusion

       For the reasons set forth herein, and in the underlying brief, the Motion to Quash should

be granted.

Date: June 16, 2021                                 Respectfully submitted,

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